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                                                         FILED
                                                         IN CLERK’S OFFICE
TH:AP                                                    US DISTRICT COURT E.D.N.Y.
F. #2023R00187                                           * NOVEMBER 28, 2023 *
                                                         BROOKLYN OFFICE
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                        X


UNITED STATES OF AMERICA                                SUPERSEDING
                                                        INDICTMENT
       - against -
                                                        Cr. No. 23-CR-2Q0(S-FKARRJ
ANDRY MARCANO and
ABEL JOSE ANDRADE VARGAS,                               (T. 18, U.S.C., §§924(c)(l)(A)(i),
                                                         924(c)(l)(A)(ii), 924(d)(i), 981(a)(1)(C),
                         Defendants.                     1951(a), 2 and 3551 et seq.: T. 21,
                                                         U.S.C., § 853(p); T. 28, U.S.C.,
                                                         §2461(0))
                                        X


THE GRAND JURY CHARGES;


                                            COUNT ONE
                               (Hobbs Act Robbery Conspiracy)

               1.     On or about February 22, 2023, within the Eastern District of New York

and elsewhere, the defendants ANDRY MARCANO and ABEL JOSE ANDRADE VARGAS,

together with others, did knowingly and intentionally conspire to obstruct, delay and affect

commerce, and the movement of articles and commodities in commerce, by robbery, to wit: the

robbery ofjewelry from a jewelry store located on 39th Avenue in Queens, New York.

               (Title 18, United States Code, Sections 1951(a) and 3551 et seq.')

                                            COUNT TWO
                                       (Hobbs Act Robbery)

               2.      On or about February 22, 2023, within the Eastern District of New York

and elsewhere, the defendant ANDRY MARCANO and ABEL JOSE ANDRADE VARGAS,

together with others, did knowingly and intentionally obstruct, delay and affect commerce, and
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the movement of articles and commodities in commerce, by robbery, to wit: the robbery of

jewelry from a jewelry store located on 39th Avenue in Queens,New York.

                (Title 18, United States Code, Sections 1951(a), 2 and 3551 et seq.')

                                         COUNT THREE
                (Possessing and Brandishing a Firearm During a Crime of Violence)

                3.     On or about February 22,2023, within the Eastern District of New York

and elsewhere, the defendant ABEL JOSE ANDRADE VARGAS,together with others, did

knowingly and intentionally use and carry one or more firearms during and in relation to a crime

of violence, to wit: the crime charged in Count Two,and did knowingly and intentionally

possess such firearms in furtherance of said crime of violence, one or more of which firearms

was brandished.


                (Title 18, United States Code, Sections 924(c)(l)(A)(i), 924(c)(l)(A)(ii), 2 and

3551 et sea.l


                           CRIMINAL FORFEITURE ALLEGATION
                                AS TO COUNTS ONE AND TWO


                4.     The United States hereby gives notice to the defendants that, upon their

conviction of either of the offenses charged in Counts One and Two,the government will seek

forfeiture in accordance with:(a) Title 18, United States Code, Section 981(a)(1)(C) and Title

28, United States Code, Section 2461(c), which require any person convicted of such offenses to

forfeit any property, real or personal, constituting, or derived from, proceeds obtained directly or

indirectly as a result of such offenses; and (b) Title 18, United States Code, Section 924(d)(1)

and Title 28, United States Code, 2461(c), which require the forfeiture of any firearm or

ammunition involved in or used in any violation of any other criminal law of the United States.
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               5.      If any ofthe above-described forfeitable property, as a result of any act or

omission of the defendants:


                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction of the court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendants up to the value of the forfeitable property

described in this forfeiture allegation.

               (Title 18, United States Code, Sections 924(d)(1) and 981(a)(1)(C); Title 21,

United States Code, Section 853(p); Title 28, United States Code, Section 2461(c))

                             CRIMINAL FORFEITURE ALLEGATION
                                      AS TO COUNT THREE


               6.      The United States hereby gives notice to the defendant charged in Count

Three that, upon his conviction of that offense, the government will seek forfeiture in accordance

with Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code, 2461(c),

which require the forfeiture of any firearm or ammunition involved in or used in any knowing

violation of Title 18, United States Code, Section 922 or Section 924.

               7.      If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:


                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;
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                       (c)     has been placed beyond the jurisdiction of the court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendant up to the value of the forfeitable property

described in this forfeiture allegation.

               (Title 18, United States Code, Section 924(d)(1); Title 21, United States Code,

Section 853(p); Title 28, United States Code, Section 2461(c))




                                                                     A TRUE BILL




                                                                           PERSON




BREON PEACE
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK
                 Case 1:23-cr-00200-ARR Document 31 Filed 11/28/23 Page 5 of 5 PageID #: 106


F.# 2023R00187

FORM DBD-34             No.
JUN, 85


                                UNITED STATES DISTRICT COURT

                                              EASTERN District of NEW YORK

                                                     CRIMINAL DIVISION


                                       THE UNITED STATES OF AMERICA



                                                     ANDRY MARCANO,et at.,

                                                                                      Defendants.



                                                      INDICTMENT

                             (T. 18, U.S.C., §§ 924(c)(l)(A)(i), 924(c)(l)(A)(ii), 924(d)(1),
                         981(a)(1)(C), 1951(a), 2 and 3551         T. 21, U.S.C., § 853(p); T. 28,
                                                            U.S.C.,§ 2461(c))
                             , A true bill.



                                                                                         Foreperson



                        Filed in open court this                        day.

                        of                         A.D.20


                                                                                              Clerk




                        Bail, $




                                    Andres PalaciOf Assistant U.S. Attorney (718)254-6215
